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                      NOTE: This order is nonprecedential.


              mntteb �tates qtourt of �peals
                  for tbe jfeberal qtfrcuit
               In Re ENTRESTO (SACUBITRIIJVALSARTAN)


            NOVARTIS PHARMACEUTICALS CORPORATION,
                        Plaintiff-Appellant

                                       v.

                   TORRENT PHARMA INC., TORRENT
                      PHARMACEUTICALS LTD.
                         Defendants-Appellees



            NOVARTIS PHARMACEUTICALS CORPORATION,
                        Plaintiff-Appellant

                                       v.

                 ALEMBIC PHARMACEUTICALS LIMITED,
                   ALEMBIC PHARMACEUTICALS INC.,
                             Defendants



            NOVARTIS PHARMACEUTICALS CORPORATION,
                        Plaintiff-Appellant

                                       v.
Case 1:19-cv-02053-RGA Document 448 Filed 08/22/24 Page 2 of 4 PageID #: 15683




            2                   IN RE ENTRESTO (SACUBITRIL/VALSARTAN)



                  MSN PHARMACEUTICALS, INC., MSN
                LABORATORIES PRIVATE LTD., MSN LIFE
                      SCIENCES PRIVATE LTD.,
                         Defendants-Appellees

                HETERO USA, INC., HETERO LABS LIMITED,
                    HETERO LABS LIMITED UNIT-III,
                              Defendants


                        2023-2218, 2023-2220, 2023-2221


                Appeals from the United States District Court for the
            District of Delaware in Nos. 1:19-cv-02021-RGA, 1:19-cv-
            02053-RGA, and 1:20-md-02930-RGA, Judge Richard G.
            Andrews.


            NOVARTIS PHARMACEUTICALS CORPORATION,
                        Plaintiff-Appellant

                                       v.

                   TORRENT PHARMA INC., TORRENT
                      PHARMACEUTICALS LTD.
                         Defendants-Appellees


                                   2023-2219


                Appeal from the United States District Court for the
            District of Delaware in No. 1:19-cv-01979-RGA, Judge
            Richard G. Andrews.


                                 ON MOTION
Case 1:19-cv-02053-RGA Document 448 Filed 08/22/24 Page 3 of 4 PageID #: 15684




            IN RE ENTREST0 (SACUBITRIL/VALSARTAN)                       3




            PERCURIAM.
                                     ORDER
                In these consolidated appeals, Torrent Pharma Inc.
            and Torrent Pharmaceuticals Ltd. (collectively, ''Torrent")
            and Novartis Pharmaceuticals Corporation jointly move for
            a limited remand of Appeal Nos. 2023-2218 (as to Torrent
            only) and 2023-2219 to the United States District Court for
            the District of Delaware.
                Novartis and Torrent state that they have reached a
            contingent settlement and requested an indicative ruling
            from the district court that it would grant a motion to va­
            cate certain decisions were the case remanded. The district
            court has indicated that it would grant their motion upon
            remand, and Novartis and Torrent now move to remand so
            that the district court can consider such motion.
                We grant the motion to the extent that we remand for
            the limited purpose of the district court's consideration of
            Novartis and Torrent's motion. See Ohio Willow Wood Co.
            v. Thermo-Ply, Inc., 629 F.3d 1374, 1375 (Fed. Cir. 2011).
            In granting the motion, this court takes no position as to
            whether the district court should grant the motion for va­
            catur.
                Upon consideration thereof,
                IT Is ORDERED THAT:
                (1) Appeal No. 2023-2219 is deconsolidated from Ap­
            peal Nos. 2023-2218, 2023-2220, and 2023-2221. The re­
            vised official captions are reflected in this order.
                (2) The motion is granted to the limited extent ex­
            plained above. This court retains jurisdiction over Appeal
            Nos. 2023-2218 and 2023-2219. Novartis and Torrent shall
            inform this court within three days after the district court's
            resolution of their motion whether Torrent continues to
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            4                   IN RE ENTRESTO (SACUBITRIL/VALSARTAN)



            participate in Appeal No. 2023-2218 and whether Appeal
            No. 2023-2219 is to be dismissed.
                                                       FOR THE COURT




            August 22. 2024                             Jarrett B. Perlow
                                                         Clerk of Court
                 Date

            cc: United States District Court for the District of Dela­
            ware
